            Case 2:18-cr-00011-AB Document 12 Filed 01/31/18 Page 1 of 1 Page ID #:45



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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                        CASE NUMBER
                                                     PLAINTIFF
                                 v.                               CR No. 18-00011- ~~
 Jeffrey Yohai
                                                                                   WAIVER OF INDICTMENT
                                                DEFENDANT(S).                      Vl N i~c~             S~~ /~ L


     I, Jeffrey Yohai                                                                                    ,the above-named defendant,
who is accused of Conspiracy to commit wire fraud; Aggravated identity theft                                                 ,in
violation of 18 U.S.C. 1349:                   l8 U.S.C. 1028A:                                                                 being
advised of the nature of the charge, the proposed information, and of my rights, hereby waive in open court on
01/3 U2018                                     prosecution by indictment and consent that the proceedings may be by
information rather than by indictment.                                  C:~.-


                                                                    Defendant !(;
                                                                                  fo"'~
                                                                     %'~.-
                                                                    .

                                                              '~~      ounse , or Defendant


If defendant is not an English speaker, include the following:
I,                                             am fluent in written and spoken English and
languages. I accurately translated this Waiver ofIndictment from English into
to defendant                                                 on this date.


Date:      ~ ~C — ~
                                                                    Interpreter


                    ~~
Before
                            Judicial Officer


                                                     WAIVER OF INDICTMENT
CR-57(05/08)[AO 455 Rev. 5/85]                                                                                               Page 1 of 1
